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1    Anthony T. Caso (Cal. Bar #88561)
     Email: atcaso@ccg1776.com
2    CONSTITUTIONAL COUNSEL GROUP
     174 W Lincoln Ave # 620
3
     Anaheim, CA 92805-2901
4    Phone: 916-601-1916
     Fax: 916-307-5164
5
     Charles Burnham (D.C. Bar# 1003464)*
6    Email: charles@burnhamgorokhov.com
     BURNHAM & GOROKHOV PLLC
7
     1424 K Street NW, Suite 500
8    Washington, D.C. 20005
     Telephone: (202) 386-6920
9    * admitted pro hac vice
10   Attorneys for Plaintiff
11

12                        UNITED STATES DISTRICT COURT
13         CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION

14   JOHN C. EASTMAN,                      Case No.: 8:22-cv-00099-DOC-DFM
15                        Plaintiff,       PLAINTIFF’S NOTICE OF
     vs.                                   SUPPLEMENTAL AUTHORITY
16
     BENNIE G. THOMPSON, et al.            Judge: Hon. David O. Carter
17
                          Defendants       Trial Date: NOT SET
18

19

20         Plaintiff John C. Eastman, through counsel, respectfully provides this court

21   with a decision rendered yesterday by the United States District Court for the
     District of Columbia in United States v. Garrett Miller, No. 1:21-cr-00119-CJN
22
     (D.D.C. Mar. 7, 2022), attached as exhibit A.
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           The decision is relevant to claims made by the Congressional Defendants on
24
     the issue of privilege currently pending before this Court. Specifically, the D.C.
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26   PLAINTIFF’S NOTICE OF SUPPLEMENTAL AUTHORITY – PAGE 1
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1    District Court held that 18 U.S.C. § 1512(c)(2), one of the three grounds on which
2    the Congressional Defendants have raised the prospect of crime-fraud exception to
3    privilege, “must be interpreted as limited by subsection (c)(1), and thus requires
4    that the defendant have taken some action with respect to a document, record, or
5    other object in order to corruptly obstruct, impede or influence an official

6    proceeding.” Slip. Op. at 28. As a result, the court dismissed the Section

7    1512(c)(2) count for obstruction contained in the indictment against one of the
     protestors who breached the Capitol on January 6, 2021. Id. at 29.
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9
     March 8, 2022                          Respectfully submitted,
10
                                            /s/Anthony T. Caso
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                                            Anthony T. Caso (Cal. Bar #88561)
12                                          CONSTITUTIONAL COUNSEL GROUP
                                            174 W Lincoln Ave # 620
13                                          Anaheim, CA 92805-2901
                                            Phone: 916-601-1916
14                                          Fax: 916-307-5164
15                                          Email: atcaso@ccg1776.com

16                                          /s/ Charles Burnham
                                            Charles Burnham (D.C. Bar # 1003464)
17                                          Burnham & Gorokhov PLLC
                                            1424 K Street NW, Suite 500
18                                          Washington, D.C. 20005
19                                          Email: charles@burnhamgorokhov.com
                                            Telephone: (202) 386-6920
20
                                            Counsel for Plaintiff
21

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26   PLAINTIFF’S NOTICE OF SUPPLEMENTAL AUTHORITY – PAGE 2
 Case 8:22-cv-00099-DOC-DFM Document 190 Filed 03/08/22 Page 3 of 3 Page ID #:3161




1
                           CERTIFICATE OF SERVICE
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         I have served this filing on all counsel through the Court’s ECF system.
3
                                         Respectfully submitted,
4
                                         /s/ Charles Burnham
5                                        Charles Burnham
                                         BURNHAM & GOROKHOV PLLC
6
                                         1424 K Street NW, Suite 500
7                                        Washington, D.C. 20005
                                         Telephone: (202) 386-6920
8                                        Email: charles@burnhamgorokhov.com

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26   PLAINTIFF’S NOTICE OF SUPPLEMENTAL AUTHORITY – PAGE 3
